Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 1 of 14
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 2 of 14




                                                                          JDPI000438
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 3 of 14




                                                                          JDPI000439
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 4 of 14




                                                                          JDPI000440
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 5 of 14




                                                                          JDPI000441
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 6 of 14




                                                                          JDPI000442
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 7 of 14




                                                                          JDPI000443
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 8 of 14




                                                                          JDPI000444
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 9 of 14




                                                                          JDPI000445
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 10 of 14




                                                                           JDPI000446
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 11 of 14




                                                                           JDPI000447
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 12 of 14




                                                                           JDPI000448
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 13 of 14




                                                                           JDPI000449
Case 2:14-cv-02057-SMM   Document 229-9   Filed 10/19/17   Page 14 of 14




                                                                           JDPI000450
